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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

SCANNING TECHNOLOGIES                 §
INNOVATIONS LLC                       §
                                      §
      Plaintiff,                      §                      Case No:
                                      §
vs.                                   §                      PATENT CASE
                                      §
SKYCORE LLC                           §
                                      §
      Defendant.                      §
_____________________________________ §

                                  ORIGINAL COMPLAINT

       Pursuant to F.R.C.P. 15(a)(1)(B), Plaintiff Scanning Technologies Innovations, LLC

(“Plaintiff” or “STI”) files this Original Complaint against Skycore LLC (“Defendant” or

“Skycore”) for infringement of United States Patent No. 9,053,498 (hereinafter “the ‘498

Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with its principal office located at

3131 McKinney Ave., Suite 600 Dallas, TX 75204

       4.      On information and belief, Defendant is a Massachusetts limited liability

company having an address of 397 Moody St., Suite 202, Waltham, MA 02453. On information

and belief, Defendant may be served through its agent, Richard Eicher, at the same address.



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        5.       On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic

activities in this District.

        6.       On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                              VENUE

        7.       Venue is proper in this District 28 U.S.C. §1400(b) because Defendant is deemed

to reside in this district. In addition, and in the alternative, acts of infringement are occurring in

this District and Defendant has a regular and established place of business in this District..

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,053,498)

        8.       Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.       This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.      Plaintiff is the owner by assignment of the ‘498 Patent with sole rights to enforce

the ‘498 Patent and sue infringers.

        11.      A copy of the ‘498 Patent, titled “Systems and Methods for Indicating the

Existence of Accessible Information Pertaining to Articles of Commerce,” is attached hereto as

Exhibit A.

        12.      The ‘498 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        13.      Upon information and belief, Defendant has infringed and continues to infringe,

literally or under the doctrine of equivalents, one or more claims, including at least Claim 1, of



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the ‘498 Patent by making, using, importing, selling, and/or offering for sale a scanning app

covered by one or more claims of the ‘498 Patent. Defendant has infringed, literally or under the

doctrine of equivalents, and continues to infringe the ‘498 Patent directly in violation of 35

U.S.C. § 271.

       14.      Defendant sells, offers to sell, and/or uses an online ordering system including,

without limitation, the codeREADr B2B barcode scanner app, and any similar products

(collectively, “Products”), which infringe at least Claim 1 of the ‘498 Patent.

       15.      The Product practices a system (e.g. codeREADr) for indicating an existence of

a link (e.g., existence of link related to products scanned) to information pertaining to an article

of commerce (e.g., ticket). Certain aspects of this element are illustrated in the screenshots below

and/or those provided in connection with other allegations herein.




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       16.    The Product has a mobile device comprising a portable handheld housing (e.g.,

codeREADr mobile App running on any IOS or Android device) and a communication interface

configured to enable the mobile device to communicate with a communication network (e.g.,

communication interface of the mobile device enabling communication over the Internet, such

as when the mobile device is online). Certain aspects of this element are illustrated in the

screenshots below and/or those provided in connection with other allegations herein.




       17.    The Product has a signal processing device (e.g., processor of the mobile device)




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and visual input device (e.g., camera of the mobile device). Certain aspects of this element are

illustrated in the screenshots below and/or those provided in connection with other allegations

herein.




          18.   The visual input device (e.g., camera for scanning barcode) is affixed within the

portable handheld housing (e.g., the housing of IOS or Android device). The mobile device

equipped camera is used to a scan barcode via the codeREADr mobile app to obtain a UPC code

(i.e., code value) related to a product. Certain aspects of this element are illustrated in the

screenshots below and/or those provided in connection with other allegations herein.




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       19.     The Product has digital files (e.g., image files of barcodes) associated with the

mobile device (e.g., codeREADr mobile app running on any IOS or Android device). Certain

aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.




       20.     On information and belief, the Product also includes a server accessed by the

codeREADr mobile App in communication with the communication network, the server

comprising a server database (e.g., server database that stores information corresponding to

barcodes of various products) configured to store a look-up table (e.g., cloud database) that




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includes at least a plurality of identification codes (e.g., as shown in screenshot below,

I1J4GL48K36W247404) associated with a plurality of articles of commerce (e.g. ticket). Certain

aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.




       21.      The look-up table also stores a plurality of information link indicators (e.g.,

clickable URLs) indicating information related to scanned product). Certain aspects of this

element are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.




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       22.     Each information link indicator is associated with a respective identification code

(e.g. I1J4GL48K36W247404) and article of commerce (e.g. ticket). Certain aspects of this

element are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.




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       23.     Each information link indicator is configured as a status signal indicating the

existence or absence of a link to information pertaining to a respective article of commerce (e.g.

indicating whether a link to information corresponding to scanned barcode is available online or

not), the link being made to the information via the communication network (e.g., response

generated which can be text or text with clickable URLs ) to the information of the scanned

product present in codeREADr server database. Certain aspects of this element are illustrated in

the screenshots below and/or those provided in connection with other allegations herein.




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       24.     The visual input device (e.g. mobile device camera) accessed by the codeREADr

app is configured to capture an image of an article of commerce (e.g., image of a barcode (ticket

or any product) captured by the camera) and decode the image to obtain an identification code

(e.g., barcode value decoded I1J4GL48K36W247404 as shown in the screenshot below). Certain




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aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.




       25.     The signal processing device (e.g., processor within the mobile device), in

response to receiving the identification code (e.g., decoded barcode), is configured to look up

the identification code in the look-up table (e.g., look up the decoded barcode in the local

database present or downloaded from the server in the mobile device shown in the screenshot

below) to determine from a respective information link indicator whether or not a link exists for

accessing information pertaining to an article of commerce associated with the identification

code via the communication network (e.g., information link indicator (e.g., as shown in

screenshot below: response generated) corresponding to scanned barcode is available online or

not via the Internet for accessing information pertaining to scanned barcode). Certain aspects of



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this element are illustrated in the screenshots below and/or those provided in connection with

other allegations herein.




       26.     The signal processing device determines whether or not the link exists without

accessing the communication network (e.g., local database in the mobile device having


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codeREADr mobile app, enables the mobile device to work in offline mode without accessing

the Internet to determine whether or not the link indicator related to scanned barcode exists). The

information link indicator is the response generated (i.e., ticket 006 redeemed) related to the

barcode value (e.g., xtcbl8eKwe) as shown in screenshot below. Certain aspects of this element

are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.




       27.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.



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          28.    Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

          29.    Plaintiff is in compliance with 35 U.S.C. § 287.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 9,053,498 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

          (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




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Dated: April 26, 2019         Respectfully submitted,

                                 /s/ David A. Chavous
                                 David A. Chavous, Esq.
                                 CHAVOUS INTELLECTUAL PROPERTY LAW
                                 LLC
                                 793 Turnpike St., Unit 1
                                 North Andover, MA 01845
                                 Phone: (978) 655-4309
                                 Fax: (978) 945-0549
                                 dchavous@chavousiplaw.com

                                 ATTORNEYS FOR PLAINTIFF




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                               EXHIBIT A




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